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                     IN THE UNITED STATES DISTRICT COURT

                                    DISTRICT OF UTAH



  UNITED STATES OF AMERICA,                          INDICTMENT

                      Plaintiff,                     VIOLATIONS:

  vs.                                                COUNT I: 18 u.s.c. § 922 G),
                                                     Possession of a Stolen Firearm,
  TAYDON TAILOR LAW,
                                                     COUNT II: 18 U.S.C. § 922(g)(l),
                      Defendant.                     Felon in Possession of a Firearm.



                                                    Case: 1:21-cr-00057
                                                    Assigned To : Stewart, Ted
                                                    Assign. Date: 5/5/2021
        The Grand Jury charges:

                                          COUNT!
                                      18 u.s.c. § 922G)
                               (Possession of a Stolen Firearm)

        On or about January 7, 2021, in the District of Utah,

                                   TAYDON TAILOR LAW,
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the defendant herein, knowingly possessed and received a stolen firearm, to wit: a Ruger,

LC9, 9 caliber handgun, and the firearm was in and affected commerce; all in violation

of 18 U.S.C. § 922(j).


                                       COUNT II
                                  18 U.S.C. § 922(g)(l)
                            (Felon in Possession of a Firearm)

       On or about January 7, 2021, in the District of Utah,

                                TAYDON TAILOR LAW,

the defendant herein, knowing he had previously been convicted of a crime punishable by

imprisonment for a term exceeding one year, knowingly possessed a firearm and

ammunition, to wit: a Ruger, LC9, 9 caliber handgun, and the firearm was in and

affected commerce; all in violation of 18 U.S.C. § 922(g)(l).



                                           A TRUE BILL:



                                           FOREPERSON of the GRAND JURY


ANDREA T. MARTINEZ
Acting United States Attorney



DEEW. SMITH
Special Assistant United States Attorney
